          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                        CRIMINAL NO. 3:01CR195


UNITED STATES OF AMERICA                  )
                                          )
                                          )
            VS.                           )           ORDER
                                          )
                                          )
REGINALD IVAN McQUEARY                    )
                                          )


      THIS MATTER is before the Court sua sponte.

      The Defendant was sentenced by the undersigned on October 23,

2002, to a total prison term of 212 months after he pled guilty to a number

of offenses including conspiracy to possess with intent to distribute cocaine

base and the use of a handgun during a crime of violence. Judgment in a

Criminal Case, filed November 14, 2002. On May 15, 2009, the

Probation Office filed a Supplement to the Defendant’s presentence report

pursuant to the Crack Cocaine Guideline Amendment. Supplement to the

Presentence Report, filed May 15, 2009. The Probation Office advises

that although Defendant is eligible for a two-level reduction in his offense

level pursuant to Amendment 706, his offense level “would actually




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increase by one-level due to the multiple count grouping rules” provided by

Guidelines § 3D1.4. Id. Therefore, the Probation Office has determined

the Defendant would not receive a reduction in his sentence. Id. Because

this recommendation is adverse to the Defendant, the Court will require a

response from counsel.

      IT IS, THEREFORE, ORDERED that Defendant’s counsel file

response to the Supplement to the Presentence Report within 45 days

from entry of this Order.

                                     Signed: May 18, 2009




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